4:04-cr-03008-RGK-DLP        Doc # 107     Filed: 02/07/07   Page 1 of 1 - Page ID # 388




                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                  )
                                           )
                    Plaintiff,             )
                                           )                  4:04CR3008
             V.                            )
                                           )
CHRISTIAN P. FIROZ,                        )
                                           )                     ORDER
                    Defendant.             )


       IT IS ORDERED that the government’s motion to continue revocation of
supervision hearing (filing 105) will be taken up at the hearing scheduled on February 8,
2007, at 12:00 p.m. before the undersigned United States district judge.

      February 7, 2007.                  BY THE COURT:

                                         s/ Richard G. Kopf
                                         United States District Judge
